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                  IN THE UNITED STATES DISTRICT COURT
                 FOR THE MIDDLE DISTRICT OF LOUISIANA

 DR. DOROTHY NAIRNE, JARRETT
 LOFTON, REV. CLEE EARNEST LOWE,
 DR. ALICE WASHINGTON, STEVEN
 HARRIS, ALEXIS CALHOUN, BLACK
 VOTERS MATTER CAPACITY
 BUILDING INSTITUTE, and THE
 LOUISIANA STATE CONFERENCE OF
 THE NAACP,                                     Civil Action No. 3:22-cv-00178
                                                SDD-SDJ
                            Plaintiffs,

 v.

 R. KYLE ARDOIN, in his official capacity
 as Secretary of State of Louisiana,

                            Defendant.


  PLAINTIFFS’ MOTION FOR PRO HAC VICE ADMISSION OF DAYTON
                      CAMPBELL-HARRIS

      In accordance with Local Civil Rule 83(b)(8) governing visiting attorneys to the

United States District Court for the Middle District of Louisiana, the undersigned

John Adcock, counsel of record for Plaintiffs, respectfully requests that this Court

permit attorney Dayton Campbell-Harris to appear and participate pro hac vice as

counsel on behalf of Plaintiffs.

      1.      Mr. Campbell-Harris is a licensed attorney admitted to practice in the

State of Washington. He is a member in good standing of the Bar of the State of

Washington.

      2.      Pursuant to Local Civil Rule 83(b)(8), a declaration under oath by Mr.

Campbell-Harris is attached here as Exhibit 1 swearing that no disciplinary



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proceedings or criminal charges have been instituted against her. That declaration

also contains the oath required by Local Civil Rule 83(b)(8)(D).

      3.     Also pursuant to Local Civil Rule 83(b)(8), a Certificate of Good Standing

from the State of Washington is attached here as Exhibit 2.

      WHEREFORE, John Adcock, member of the bar of this Court in good standing,

pray that this court enter an order permitting Dayton Campbell-Harris to appear pro

hac vice for Plaintiffs in the above-captioned matter.



Date: June 12, 2023                                 Respectfully submitted,

                                              /s/ John Adcock            _
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                                              New Orleans, LA 701119
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